           Case 1:15-cr-00300-DAD-BAM Document 162 Filed 12/12/18 Page 1 of 1


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 8
                                  IN THE UNITED STATES DISTRICT COURT
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                                     EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                         CASE NO. 1:15-CR-00300 DAD

12                                 Plaintiff,          ORDER DISMISSING DEFENDANT FROM
                                                       INDICTMENT
13                           v.                        (Fed.R.Crim.P 48(A))

14   SAUL ALCANTAR MARTINEZ,

15                                 Defendant.

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17          The United States of America, having moved this Court to dismiss the indictment as to above-

18 named defendant only pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, without
19 prejudice and in the interest of justice and good cause appearing;

20          IT IS HEREBY ORDERED that the indictment in the above-entitled case be dismissed without

21 prejudice in the interest of justice.

22          IT IS FURTHER ORDERED that the warrant be recalled and this case be closed.

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     IT IS SO ORDERED.
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25      Dated:     December 12, 2018
                                                      UNITED STATES DISTRICT JUDGE
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